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8                             UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11    LEWIS BUTLER,                              Case No. 2:22-00507 DSF (ADS)

12                              Plaintiff,

13                       v.                      JUDGMENT

14    WARDEN,

15                              Defendant.

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17          Pursuant to the Order Dismissing Action for Failure to Prosecute, the Court

18    dismisses the above-captioned case.

19

20    DATED: May 31, 2022                    ______________________________
                                             THE HONORABLE DALE S. FISCHER
21                                           United States District Judge

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